     Case 5:18-cv-00204-C Document 11 Filed 09/18/18            Page 1 of 3 PageID 119


                         THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

VISTA BANK,                                       §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                § Civil Case No. 5:18-cv-00204-C
                                                  §
FIRST BANCSHARES OF TEXAS, INC.,                  §
a Texas financial institution doing business      §
as FIRSTCAPITAL BANK OF TEXAS,                    §
N.A., BRAD BURGESS, and KENNETH                   §
L. BURGESS, JR.,                                  §
                                                  §
       Defendants.                                §

                       CERTIFICATE OF INTERESTED PERSONS

       Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and

LR 81.2, Defendants FIRST BANCSHARES OF TEXAS, INC. and FIRSTCAPITAL BANK

OF TEXAS, N.A. file this Certificate of Interested Persons. The following persons and entities

are parties that may have a financial interest in the outcome of this litigation: FIRSTCAPITAL

BANK OF TEXAS, N.A., a national banking association chartered by the Office of the

Comptroller of the Currency, and its parent corporation, FIRST BANCSHARES OF TEXAS,

INC.
    Case 5:18-cv-00204-C Document 11 Filed 09/18/18     Page 2 of 3 PageID 120


                                    Respectfully submitted,

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                                    By: /s/ Joel R. Hogue
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                                    ATTORNEYS FOR DEFENDANTS,
                                    FIRST BANCSHARES OF TEXAS, INC. AND
                                    FIRSTCAPITAL BANK OF TEXAS, N.A.




CERTIFICATE OF INTERESTED PERSONS                                            Page 2
    Case 5:18-cv-00204-C Document 11 Filed 09/18/18                 Page 3 of 3 PageID 121


                                    CERTIFICATE OF SERVICE
        I hereby certify that on September 18, 2018, I electronically filed the foregoing document
with the clerk of court using the electronic filing system. The electronic filing system will send a
“Notice of Electronic Filing” to the following attorney(s) of record who have consented in
writing to accept this Notice as service of this document by electronic means:

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CERTIFICATE OF INTERESTED PERSONS                                                            Page 3
